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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


Jeanice Farley, et al.

                v.
                                                              Civil No. 13-cv-261-LM
United States of America


                                        JUDGMENT


        Judgment is hereby entered in accordance with the following:

    1. Stipulation of Dismissal as to claims brought by George Farley, James Farley, and

        Kimberly-Rae Farley, filed on July 25, 2014.

    2. Memorandum and Order dated April 3, 2015, by District Judge Landya B. McCafferty,

        against the United States in favor of Mrs. Farley, on behalf of Mr. Farley, in the amount

        of $21,468,710.62, and in favor of Mrs. Farley, individually, in the amount of

        $100,000.00.

        Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the judgment, which

the court found to be a reasonable fee in this case. Post-judgment interest shall be awarded in

accordance with 31 U.S.C. § 1304(b)(1).

                                                     By the Court,


                                                     /s/ Daniel J. Lynch
                                                     Daniel J. Lynch
                                                     Clerk of Court
Date: April 6, 2015
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cc:   Jamal K. Alsaffar, Esq.
      Tom Jacob, Esq.
      Lawrence A. Vogelman, Esq.
      T. David Plourde, Esq.
